       Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 1 of 29




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION




JARROD STRINGER, et al.

                    Plaintiffs,
      v.                                         Civil Action Case No. 5:20-cv-00046-
                                                 OLG
RUTH HUGHS, in her official capacity as Texas
Secretary of State and STEVEN C. MCCRAW, in
his official capacity as Director of the Texas   ORAL ARGUMENT REQUESTED
Department of Public Safety



                    Defendants.

   TEXAS DEMOCRATIC PARTY, DSCC, AND DCCC’S MOTION FOR SUMMARY
                            JUDGMENT
         Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 2 of 29




                                              TABLE OF CONTENTS

I.     INTRODUCTION ............................................................................................................. 1

II.    FACTUAL AND PROCEDURAL BACKGROUND....................................................... 2

III.   RELEVANT LEGAL STANDARDS ............................................................................... 4

       A.        Summary Judgment Standard ................................................................................ 4

       B.        Equal Protection Clause ......................................................................................... 5

IV.    ARGUMENT ..................................................................................................................... 5

       A.        Intervenors have standing. ..................................................................................... 6

                 1.         Intervenors have direct organizational standing. ....................................... 7

                 2.         Intervenors have associational standing................................................... 13

                 3.         Intervenors’ injuries are directly traceable to Defendants’ conduct. ....... 15

                 4.         Intervenors’ injuries can be redressed by a favorable decision. .............. 15

       B.        The doctrine of collateral estoppel precludes Defendants from relitigating
                 the merits of this case. .......................................................................................... 16

       C.        Intervenors are entitled to summary judgment for the reasons detailed in
                 Plaintiffs’ previous motion for summary judgment. ............................................ 18

V.     CONCLUSION ................................................................................................................ 20




                                                                 i
             Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 3 of 29

                                                 TABLE OF AUTHORITIES
CASES                                                                                                                              PAGE(S)
Anderson v. Celebrezze,
   460 U.S. 780 (1983) .................................................................................................................18

Bay Cty. Democratic Party v. Land,
   347 F. Supp. 2d 404 (E.D. Mich. 2004)...................................................................................14

Burdick v. Takushi,
   504 U.S. 428 (1992) .......................................................................................................5, 18, 19

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...................................................................................................................4

Crawford v. Marion Cty Election Bd.,
   472 F.3d 949 (7th Cir. 2007) ...................................................................................................13

Crawford v. Marion Cty. Election Bd.,
   553 U.S. 181 (2008) ...................................................................................................................5

Democratic Nat’l Comm. v. Bostelmann,
  No. 20-CV-249-WMC, 2020 WL 1320819 (W.D. Wis. Mar. 20, 2020) ................................14

Democratic Nat’l Comm. v. Reagan,
  329 F. Supp. 3d 824 (D. Ariz. 2018), aff’d, 904 F.3d 686 (9th Cir. 2018),
  reh’g en banc granted, 911 F.3d 942 (9th Cir. 2019), rev’d on other grounds
  and remanded, Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989 (9th Cir.
  2020) ..................................................................................................................................12, 14

Democratic Nat’l Comm. v. Republican Nat’l Comm.,
  No. 20-1538 (7th Cir. Apr. 3, 2020) ........................................................................................14

Democratic Party of Ga., Inc. v. Crittenden,
  347 F. Supp. 3d 1324 (N.D. Ga. 2018) ....................................................................................12

Fla. Democratic Party v. Hood,
   342 F. Supp. 2d 1073 (N.D. Fla. 2004)....................................................................................14

Fla. Democratic Party v. Scott,
   215 F. Supp. 3d 1250 (N.D. Fla. 2016)..............................................................................13, 14

Fla. State Conference of N.A.A.C.P. v. Browning,
   522 F.3d 1153 (11th Cir. 2008) .................................................................................................8

Friends for the Earth, Inc. v. Chevron Chem. Co.,
    129 F.3d 826 (5th Cir. 1997) ...................................................................................................13

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.,
    528 U.S. 167 (2000) ...................................................................................................................6



                                                                      ii
            Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 4 of 29

                                               TABLE OF AUTHORITIES
CASES                                                                                                                         PAGE(S)
Ga. Republican Party v. Sec. & Exch. Comm’n,
   888 F.3d 1198 (11th Cir. 2018) ...............................................................................................14

Green Party of Tenn. v. Hargett,
   767 F.3d 533 (6th Cir. 2014) .....................................................................................................7

Havens Realty Corp. v. Coleman,
   455 U.S. 363 (1982) ...................................................................................................................7

Hunt v. Wash. State Apple Adver. Comm’n,
   432 U.S. 333 (1977) .............................................................................................................7, 13

Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury,
    946 F.3d 649 (5th Cir. 2019) ...................................................................................................15

Langley v. Price,
   926 F.3d 145 (5th Cir. 2019) ...................................................................................................18

LaRoque v. Holder,
   650 F.3d 777 (D.C. Cir. 2011) ...................................................................................................7

Lee v. Va. State Bd. of Elections,
   188 F. Supp. 3d 577 (E.D. Va. 2016), aff’d, 843 F.3d 592 (4th Cir. 2016) .............................12

Lujan v. Def. of Wildlife,
   504 U.S. 555 (1992) ...............................................................................................................6, 7

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) ...............................................................................................................4, 5

Norman v. Reed,
   502 U.S. 279 (1992) ...................................................................................................................5

OCA-Greater Houston v. Texas,
  867 F.3d 604 (5th Cir. 2017) .....................................................................................................8

Ohio Org. Collaborative v. Husted,
   189 F. Supp. 3d 708 (S.D. Ohio 2016), rev’d sub nom. on other grounds, Ohio
   Democratic Party v. Husted, 834 F.3d 620 (6th Cir. 2016).....................................................12

Owen v. Mulligan,
  640 F.2d 1130 (9th Cir. 1981) ...................................................................................................7

Parklane Hosiery Co., Inc., v. Shore,
   439 U.S. 322 (1979) .................................................................................................................16

Pye v. Oil States Energy Servs., LLC,
   233 F. Supp. 3d 541 (W.D. Tex. 2017)......................................................................................5


                                                                    iii
             Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 5 of 29

                                                TABLE OF AUTHORITIES
CASES                                                                                                                             PAGE(S)
Republican Nat’l Comm. v. Democratic Nat’l Comm.,
   140 S.Ct. 1205 (2020) ..............................................................................................................14

Reynolds v. Sims,
   377 U.S. 533 (1964) ...................................................................................................................1

Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,
   547 U.S. 47 (2006) .....................................................................................................................6

Sandusky Cty. Democratic Party v. Blackwell,
   387 F.3d 565 (6th Cir. 2004) ...................................................................................................14

Schiaffo v. Helstoski,
   492 F.2d 413 (3d Cir. 1974).......................................................................................................7

Schulz v. Williams,
   44 F.3d 48 (2d Cir. 1994)...........................................................................................................7

Smith v. Boyle,
   144 F.3d 1060 (7th Cir. 1998) ...................................................................................................7

Stringer v. Pablos,
    320 F. Supp. 3d 862 (W.D. Tex. 2018)............................................................................ passim

Stringer v. Whitley,
    942 F.3d 715 (5th Cir. 2019) ...........................................................................................1, 3, 11

Tex. Democratic Party v. Benkiser,
   459 F.3d 582 (5th Cir. 2006) .........................................................................................7, 13, 14

Tex. Indep. Party v. Kirk,
   84 F.3d 178 (5th Cir. 1996) .......................................................................................................5

Texas v. United States,
   945 F.3d 355 (5th Cir. 2019) .....................................................................................................6

Winters v. Diamond Shamrock Chem. Co.,
   149 F.3d 387 (5th Cir. 1998) .............................................................................................16, 17

OTHER AUTHORITIES

Fed. R. Civ. P. 24(a)(2) ....................................................................................................................3

Fed. R. Civ. P. 24(b) ........................................................................................................................3

Fed. R. Civ. P. 56(a) ........................................................................................................................4

Fed. R. Civ. P. 56(b) ........................................................................................................................4


                                                                      iv
            Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 6 of 29

                                             TABLE OF AUTHORITIES
CASES                                                                                                                    PAGE(S)
Federal Rule of Civil Procedure 56 .................................................................................................2

Restatement (Second) of Judgments § 27, cmt. j ...........................................................................17




                                                                 v
          Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 7 of 29




                                     I.      INTRODUCTION

        “The right to vote freely for the candidate of one’s choice is of the essence of a democratic

society, and any restrictions on that right strike at the heart of representative government.”

Reynolds v. Sims, 377 U.S. 533, 555 (1964). This Court has already determined that Defendants’

refusal to treat online driver’s license transactions the same as those undertaken in person or by

mail—where in-person and mail interactions offer the opportunity for simultaneous voter

registration, but online interactions do not—restricts the right to vote in violation of the Equal

Protection Clause of the Fourteenth Amendment to the U.S. Constitution. See Stringer v. Pablos,

320 F. Supp. 3d 862, 900-901 (W.D. Tex. 2018) (“Stringer I”). That holding was based on a robust

factual record wherein “the key facts of th[e] case [were] undisputed,” and Defendants’

justification for the difference in treatment unfounded. Id. at 868. On appeal, the Fifth Circuit

reversed because it found that the original individual voter plaintiffs lacked standing, but in doing

so, it expressly did not reach the merits. See Stringer v. Whitley, 942 F.3d 715, 726 (5th Cir. 2019)

(“Stringer I”). 1

        Rather than taking the opportunity to voluntarily correct their unconstitutional conduct,

Defendants have persisted in maintaining this unlawful voter registration regime, which

unjustifiably treats similarly situated voters differently, with resulting injuries to countless Texans’

most fundamental constitutional rights. Intervenors are political party organizations that have both

direct organizational and associational standing to proceed with this action, and which sought and

were granted leave to participate in this action as Plaintiffs, in order to cure the standing issue.

Nothing has changed regarding the merits of this case since it was previously before the Court on



1
  The individual voter plaintiffs who originally brought this action, and whose injuries were the
subject of the Fifth Circuit’s decision are referred to throughout this brief as the “Original
Plaintiffs.”
                                                   1
         Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 8 of 29




plaintiffs’ motion for summary judgment in Stringer I, and the relevant facts remain undisputed.

Specifically, it is not in dispute that Defendants still do not provide simultaneous updates to voter

registration information for voters who update their driver’s license information with the Texas

Department of Public Safety (“DPS”) online. And Defendants’ justifications for their actions also

remain the same: they continue to erroneously assert that compliance with a handwritten signature

requirement under state law justifies their illegal conduct, even though they admittedly still rely

on electronically captured signatures for driver’s license transactions and voter registration

applications. 2 It also remains true that providing a simultaneous voter registration application to

online driver’s license customers would be a simple and cost-effective task for Defendants.

        With the standing issue now addressed, Intervenors are entitled to judgment as a matter of

law under Federal Rule of Civil Procedure 56. Because the Fifth Circuit’s decision did not address

the merits of Intervenors’ Equal Protection claim, which were already fully and fairly litigated in

Stringer I, Defendants are barred by the doctrine of collateral estoppel from relitigating the

question of whether their conduct violates equal protection. In the alternative, Intervenors move

for summary judgment based on the record before this Court in Stringer I and the record developed

in this litigation (referred to as Stringer II) thus far.

                   II.     FACTUAL AND PROCEDURAL BACKGROUND

        On May 10, 2018, following more than two years of litigation, this Court granted summary

judgment for Plaintiffs, holding that Defendants’ failure to provide simultaneous voter registration

for voters who updated their driver’s license information online violated the National Voter




2
  See Defs.’ Supp. Br. in Opp. to Pls.’ & Pl.-Intervenors’ Req. for Prelim. Inj. (“Defs.’ Supp. Br.”),
ECF No. 74 at 11 (arguing Plaintiffs and Intervenors are trying to “force the State to accept online
transactions that are not themselves done under the signature of the voter registration applicant”).


                                                     2
         Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 9 of 29




Registration Act (“NVRA”) and the Equal Protection Clause of the Fourteenth Amendment.

Stringer I, 320 F. Supp. 3d at 900-901, rev’d and remanded sub nom. Stringer I, 942 F.3d at 715.

This Court’s ruling was based on an extensive and robust record, which is incorporated in the 204-

page appendix filed by Plaintiffs in support of their motion for summary judgment and adopted

and incorporated herein. See Appx. 1-204, Ex. A.

       The Fifth Circuit’s reversal of this Court’s order in Stringer I was based entirely on its

conclusion that the Original Plaintiffs lacked standing; the panel expressly did not reach the merits.

See 942 F.3d at 720-23. The Fifth Circuit’s mandate was issued on December 5, 2019, returning

the case to this Court. Appx. 268-283, Ex. C. Because Defendants have since refused to bring their

voter registration practices into compliance with the requirements of the U.S. Constitution and the

NVRA, a combination of some Original Plaintiffs and new plaintiffs (“Stringer II Plaintiffs”)

commenced this litigation and moved for a preliminary injunction. Intervenors moved to intervene

in this litigation, and this Court granted their motion on January 21, 2020. See ECF No. 27

(granting intervention under both Fed. R. Civ. P. 24(a)(2) and 24(b)). One week later, the Court

granted Intervenors’ motion to join Plaintiffs’ motion for a preliminary injunction. ECF No. 40.

That same day, the Court heard argument on that preliminary injunction motion, and Intervenors

moved for leave to file a motion for summary judgment, which Defendants opposed in large part

because they had not yet conducted discovery on Intervenors’ standing. See Defs.’ Resp. in Opp.

to Intervenors’ Mot. for Leave to File Mot. for Summ. J., ECF No. 50.

       During the Court’s January 28th hearing on the preliminary injunction motion, Defendants

admitted that their conduct has not changed since this Court decided Stringer I, but they again

conjured up imaginative difficulties and impediments to swiftly bringing their voter registration

activities into compliance. Further, Defendants’ counsel repeatedly conceded that none of the



                                                  3
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 10 of 29




material facts have changed, stating: “Your Honor, I don’t think that the facts have changed

materially or relevantly since Stringer One, and I think as [Plaintiffs] laid them out, overall we

don’t have an objection to their characterization of the process,” Appx. at 688. Defense counsel

reiterated this repeatedly. See id. at 741 (“There have been no material changes with our practices

with respect to online driver’s license renewal and DPS.”); id. at 742 (“The practices and law

hasn’t changed.”).

       Subsequently, at Plaintiffs’ request, the Court ordered the parties to engage in discovery

on a timeline for Defendants to implement a remedy. ECF No. 14. The Court also permitted

Defendants to conduct discovery on Intervenors’ standing. Id. The expedited discovery period

ended nearly a month ago on April 30. Because there are no material facts in dispute, and

Defendants have now had the opportunity to take that discovery, Intervenors submit that there is

no reason to delay consideration of their motion for summary judgment in accordance with Fed.

R. Civ. P. 56(b).

                          III.    RELEVANT LEGAL STANDARDS

       A.      Summary Judgment Standard

       A court must grant a motion for summary judgment if “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to a judgment as a matter of law.”

Fed. R. Civ. P. 56(a). Once the moving party has met its initial burden of proving that no genuine

issue of material fact exists, the burden shifts to the opposing party to establish otherwise.

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86 (1986). To avoid

summary judgment, the opposing party must go beyond the pleadings to designate specific facts

establishing a genuine issue for trial. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). In so

doing, the opposing party “must do more than simply show that there is some metaphysical doubt



                                                 4
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 11 of 29




as to the material facts.” Matsushita, 475 U.S. at 586. In other words, “[m]ere allegations of a

factual dispute between the parties will not defeat an otherwise proper motion for summary

judgment.” Pye v. Oil States Energy Servs., LLC, 233 F. Supp. 3d 541, 548 (W.D. Tex. 2017).

        B.      Equal Protection Clause

        When a state election law is challenged on First or Fourteenth Amendment grounds, courts

apply the Anderson-Burdick balancing test. Tex. Indep. Party v. Kirk, 84 F.3d 178, 182 (5th Cir.

1996). That standard requires the Court to “weigh ‘the character and magnitude of the asserted

injury to the rights . . . the plaintiff seeks to vindicate’ against ‘the precise interests put forward by

the State as justifications for the burden imposed by its rule,’ taking into consideration ‘the extent

to which those interests make it necessary to burden the plaintiff’s rights.’” Burdick v. Takushi,

504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)). It is a

“flexible” sliding scale, where “the rigorousness of [the court’s] inquiry . . . depends upon the

extent to which [the challenged law] burdens [voting rights].” Id. When a law subjects voting rights

to a “severe” restriction, it “must be narrowly drawn to advance a state interest of compelling

importance.” Norman v. Reed, 502 U.S. 279, 280 (1992). Less severe burdens must be balanced:

“[h]owever slight” the burden on voting rights “may appear,” “it must be justified by relevant and

legitimate state interests ‘sufficiently weighty to justify the limitation.’” Crawford v. Marion Cty.

Election Bd., 553 U.S. 181, 191 (2008) (controlling op.) (quoting Norman, 502 U.S. at 288-89).

                                        IV.     ARGUMENT

        Intervenors have standing and are entitled to summary judgment because, by Defendants’

own admission, 3 just as in Stringer I, there are no real genuine issues of material fact in dispute.



3
 See Jan. 30 Order, ECF No. 46 at 1 (“The facts are uncontested and neither side challenges the
admissibility of the preliminary injunction evidence.”); see also Appx. at 688, 741, 742.


                                                    5
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 12 of 29




Defendants still engage in the same illegal conduct for the same illegitimate reasons, in violation

of equal protection. Stringer I, 320 F. Supp. 3d at 900-901. This time, they are barred by the

doctrine of collateral estoppel from arguing otherwise. But even if the Court were to decline to

apply the doctrine of collateral estoppel, Intervenors are entitled for summary judgment based on

the Stringer I and Stringer II records, as set forth herein and in the Appendix to the Motion.

       A.      Intervenors have standing.

       Intervenors have briefed the arguments and authorities in support of their standing multiple

times before this Court. Rather than repeat those arguments again here, Intervenors incorporate by

reference their briefing in support of their Motion for Preliminary Injunction (ECF Nos. 40, 70,

76) and in opposition to Defendants’ Motion to Dismiss (ECF No. 71) herein. For the avoidance

of doubt, however, Intervenors briefly summarize their standing arguments below.

       Intervenors satisfy Article III’s requirements for both organizational standing and

associational standing. Defendants’ previous arguments to the contrary—including their assertions

regarding statutory standing—have no merit. 4 To establish Article III standing, a plaintiff must

show (1) an “injury in fact” that is concrete, particularized, and actual or imminent; (2) that the

injury is “fairly traceable” to the challenged conduct of the defendant; and (3) that it is likely, not

merely speculative, that the injury can be redressed by a favorable decision. Lujan v. Def. of

Wildlife, 504 U.S. 555, 560-61 (1992); Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S.

167, 180-81 (2000). It is, of course, axiomatic that “one party with standing is sufficient to satisfy

Article III’s case-or-controversy requirement.” Rumsfeld v. Forum for Acad. & Institutional

Rights, Inc., 547 U.S. 47, 52 n.2 (2006); Texas v. United States, 945 F.3d 355, 377–78 (5th Cir.



4
  Defendants argued in their Motion to Dismiss that Intervenors lacked statutory standing.
Intervenors fully addressed that baseless argument in their Opposition to Defendants’ Motion to
Dismiss, ECF No. 71 at 14-15, and do not address it further here.

                                                  6
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 13 of 29




2019) (quotation and citation omitted). Here, all three Intervenors easily meet this bar.

               1.      Intervenors have direct organizational standing.

       First, as the Fifth Circuit recognized in Tex. Democratic Party v. Benkiser, 459 F.3d 582,

587 & n.4 (5th Cir. 2006), “[v]oluminous persuasive authority” holds that political party

organizations have standing to challenge state laws that threaten the electoral prospects of their

candidates. Intervenors’ missions are to elect Democratic candidates, and one of the ways they

achieve that is by increasing the number of eligible Democratic voters who are registered to vote,

particularly in the upcoming 2020 elections. See Appx. at 447-448 (explaining TDP has a goal of

registering the 2.6 million unregistered voters in Texas who are likely to vote Democratic); id. at

575-76 (DCCC identifies voters who are likely to vote Democratic and seeks to register them to

increase the number of voters who “are likely to support Democratic candidates or vote for

Democrats”); id. at 677-79 (DSCC anticipates transferring significant sums to TDP to spend on

field programs, which will involve voter registration efforts to help elect Democratic candidates

to national office). Intervenors have standing to challenge Defendants’ continuing illegal conduct,

which makes it exponentially harder for voters who would support them to register to vote, and

thus directly threatens the electoral prospects of the candidates they support. See Green Party of

Tenn. v. Hargett, 767 F.3d 533, 543-44 (6th Cir. 2014); LaRoque v. Holder, 650 F.3d 777, 786

(D.C. Cir. 2011); Smith v. Boyle, 144 F.3d 1060, 1061–63 (7th Cir. 1998); Schulz v. Williams, 44

F.3d 48, 53 (2d Cir. 1994); Owen v. Mulligan, 640 F.2d 1130, 1132–33 (9th Cir. 1981); Schiaffo

v. Helstoski, 492 F.2d 413, 417 (3d Cir. 1974).

       Second, Intervenors satisfy Article III because Defendants’ conduct forces them to divert

resources from their usual activities to lessen the harm caused by their conduct, which causes

injury to Intervenors’ missions, as well as their members or constituencies. See, e.g., Havens Realty

Corp. v. Coleman, 455 U.S. 363, 379 (1982); see also Hunt v. Wash. State Apple Adver. Comm’n,

                                                  7
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 14 of 29




432 U.S. 333, 345 (1977). The Fifth Circuit has made clear that the impact to an organization’s

activities or resources does not need to be large to establish standing; even a slight impairment to

its activities is sufficient to establish standing. See OCA-Greater Houston v. Texas, 867 F.3d 604,

610-12 (5th Cir. 2017). Furthermore, “an organization suffers an injury in fact when a statute

‘compel[s]’ it to divert more resources to accomplishing its goals,” and “‘[t]he fact that the added

cost has not been estimated and may be slight does not affect standing, which requires only a

minimal showing of injury.’” Fla. State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153,

1165 (11th Cir. 2008) (citation omitted). Moreover, the activities undertaken by an organization

to counteract a challenged state action need not fall outside the scope of the organization’s mission

or central initiatives to constitute a diversion of resources sufficient to establish standing. See OCA-

Greater Houston, 867 F.3d at 610 (finding OCA’s primary mission is voter outreach and civic

education, and the challenged laws forced OCA to expend more resources on those activities to

educate voters about Texas’s restrictions on interpretation assistance for English-limited voters).

       Here, the evidence demonstrates that Intervenors have diverted resources in the past to

counter Defendants’ unconstitutional actions. And without an injunction, Intervenors will be

forced to divert more resources in the future. See, e.g., ECF No. 43-1 at ¶ 10-11 (TDP); ECF No.

43-2 at ¶ 7 (DSCC); ECF No. 43-2 at ¶ 11 (DCCC). Intervenors are spending more money than

ever before on voter registration and get-out-the-vote (“GOTV”) efforts in Texas, in order to

counteract the difficulties imposed by Defendants’ illegal conduct. See Appx., Exs. G, H, I. TDP,

for example, is engaging in the largest voter registration program in the history of the state of

Texas, with a goal of registering about 2.6 million unregistered, eligible Democratic voters, in

large part because of Defendants’ failure to comply with the NVRA and equal protection. ECF

No. 43-1 ¶ 11, Appx. at 351, ¶ 16 (TDP).



                                                   8
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 15 of 29




        In addition to making it substantially (and unjustifiably) harder for a significant number of

these people to be registered to vote, Defendants’ conduct has caused and is likely to continue to

cause confusion that itself will result in disenfranchisement among Texas voters who have

interacted with DPS online. In response, TDP is devoting significant funds and personnel time to

preemptively mass mail voter registration applications to voters who may have attempted to

register online through DPS, Appx. at 436-37, and to educate voters on the confusing pitfalls of

Texas’s voter registration requirements. TDP’s voter registration program has required more

resources than it would have if Defendants’ voter registration practices were constitutional. See

also id. at 450 (“And most of this we wouldn’t have to do if people could update their registration

when people got their driver’s license updates.”). This is because Defendants’ conduct limits the

effectiveness of TDP’s registration program, as TDP must try to register more voters than it would

otherwise due to its valid concern that registered individuals will be disenfranchised. ECF No. 28

¶ 12.

        Defendants’ conduct has similarly caused DCCC and DSCC to divert resources from other

efforts to elect Democrats to the U.S. House of Representatives and U.S. Senate, respectively. Both

directly and through its support of the TDP, DCCC will have to divert resources from its other

work to increasing its voter registration and GOTV efforts in Texas. Moreover, DCCC is spending

more money in Texas on voter registration and GOTV efforts than it otherwise would. See Appx.

580 (DCCC stating that Defendants’ violations “will inevitably lead us to have to spend more

money on voter registration and more time making sure we are educating voters, that they know

that they might not have been registered to vote or had their address updated if they changed any

information online through the DPS website”). For example, DCCC has already spent nearly

$400,000 this election cycle to compensate a consultant, Sisneros Strategies, to conduct a robust



                                                 9
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 16 of 29




program to register Texas voters. Appx. at 363, ¶ 6; id. at 568-69. DCCC has opened four offices

in Texas, id. at 514, and hired staff on the ground to both engage with and register voters. Id. at

568-69. DCCC anticipates ultimately spending millions of dollars to register and mobilize voters

in Texas in advance of the 2020 elections. ECF No. 43-2 ¶ 6; Appx. at 363, ¶ 7. Neither DCCC

nor DSCC have unlimited funds, and because both are national party committees, they have had

to, and will continue to have to, divert resources from other states to voter registration and GOTV

programs in Texas because “voter registration’s going to have to be a higher priority than it might

be in another state where it’s easier to register folks.” Appx. at 643; id. at 586 (DCCC explaining

the importance of voter registration in Texas). DCCC, for example, could have spent the $400,000

(or some portion thereof) that it paid for voter registration to Sisneros Strategies on digital voter

persuasion efforts to protect swing districts within Texas and nationwide.

       In addition, DCCC and DSCC actively support TDP’s voter registration and GOTV efforts

through financial and staffing resources, ECF No. 43-2 ¶ 9. Through a program called the

“coordinated campaign,” DCCC and DSCC each plan to transfer a significant amount of funds to

TDP to support Democratic candidates in Texas in races up and down the Democratic ticket. This

election cycle especially, given the difficulties caused by Defendants’ conduct, DCCC and DSCC

will transfer funds to the coordinated campaign to help fund TDP’s voter education and voter

engagement programs on the ground. DCCC has already transferred over $145,000 to TDP for

voter registration this election cycle, Appx. at 567, 569 (“We have – with the money that we have

sent to the Texas Democratic Party, I believe at least two people who have been hired with the

express purpose of assisting voter registration efforts.”). And, DCCC anticipates transferring more,

given its need to help support TDP’s voter registration program to achieve its mission, which, as

explained, is substantially more costly because of Defendants’ illegal conduct. Appx. at 363, ¶ 8.



                                                 10
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 17 of 29




In advance of the 2020 elections, DSCC intends to give significant sums to TDP to spend on its

field program, which will necessarily involve, among many things, voter registration efforts, to

help elect Democratic candidates from Texas to national office. Appx. at 657, 665, 677-79. Thus

far this election cycle, DSCC has transferred $25,000 to the TDP. Id. at 657. DCCC and DSCC

support TDP’s field programs because they increase the number of registered Democratic voters

in Texas and the number of voters who support DCCC’s and DSCC’s endorsed candidates. Appx.

at 565, 586.

       DCCC and DSCC are injured by Defendants’ conduct in the same way that TDP is injured:

their voter registration and GOTV efforts are rendered ineffective when a voter they convinced to

show up to the polls to vote is denied the right to cast a ballot that will be counted because the

voter was not registered to vote during their online driver’s license transaction. That voters will be

disenfranchised by Defendants’ violation is a certainty at this point; indeed, it already happened

with the original plaintiffs in this case. See Stringer I, 942 F.3d at 726 (Ho, J., concurring) (noting

that Original Plaintiffs were injured by Defendants’ conduct because “[t]hey were unable to

exercise their right to vote in past election cycles. And it is a right they will never be able to

recover.”) (emphasis in original). The only reason that the parties are not able to identify the precise

number of voters who have indicated they wish to apply to register to vote while transacting with

DPS online is because DPS (which is the only entity that could potentially identify all of those

voters) had not ascertained that number during discovery. ECF. No. 69-1 at 20, 64-65. Intervenors

must spend additional funds and allocate more resources to educate and register those who

mistakenly believe they registered to vote through DPS’s website and are denied the right to vote

at the polls. They must also persuade additional voters to turn out to vote in order to compensate

for voters who are disenfranchised due to Defendants’ conduct. ECF No. 43-3 ¶ 7; Appx. 367, ¶



                                                  11
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 18 of 29




5; id. at 655-56, 657.

        These examples of ways in which Intervenors have been forced to divert resources to

combat and address Defendants’ actions are more than sufficient to satisfy Article III’s standing

requirement for political party entities like Intervenors in a case such as this. See, e.g., Democratic

Nat’l Comm. v. Reagan, 329 F. Supp. 3d 824, 841 (D. Ariz. 2018), aff’d, 904 F.3d 686 (9th Cir.

2018), reh’g en banc granted, 911 F.3d 942 (9th Cir. 2019), rev’d on other grounds and remanded,

Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989 (9th Cir. 2020) (finding plaintiffs DNC, DSCC,

and Arizona Democratic Party had direct organizational standing to challenge election laws that

will require them “to retool their GOTV strategies and divert more resources to ensure that low-

efficacy voters are returning their early mail ballots . . . [and] to educate their voters” on those

laws); Lee v. Va. State Bd. of Elections, 188 F. Supp. 3d 577, 584 (E.D. Va. 2016), aff’d, 843 F.3d

592 (4th Cir. 2016) (finding Democratic Party of Virginia “has shown sufficient injury primarily

in the form of diversion of time, talent, and resources to educate their voters and implement the

requirements of the Virginia voter identification law”); Democratic Party of Ga., Inc. v.

Crittenden, 347 F. Supp. 3d 1324, 1337 (N.D. Ga. 2018) (holding Democratic Party of Georgia’s

“diversion of resources from preparation for the upcoming runoff elections to assisting individuals

impacted by the handling of absentee and provisional ballots is all the injury needed to meet the

injury-in-fact requirement”); Ohio Org. Collaborative v. Husted, 189 F. Supp. 3d 708, 726 (S.D.

Ohio 2016), rev’d sub nom. on other grounds, Ohio Democratic Party v. Husted, 834 F.3d 620

(6th Cir. 2016) (holding Ohio Democratic Party had shown injury-in-fact because “the challenged

provisions will force [it] to divert resources from ensuring their members and constituents vote to

counteracting the negative effects of the challenged provisions.”).




                                                  12
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 19 of 29




               2.      Intervenors have associational standing.

       In addition to establishing standing based on injuries sustained by the organizations

themselves, Intervenors have standing based on the injuries suffered by their members and

constituents. An organization may bring suit on behalf of its members or constituents when: (1) its

members and constituents would otherwise have standing to sue as individuals; (2) the interests at

stake are germane to the group’s purpose; and (3) neither the claim made nor relief requested

requires the participation of individual members or constituents in the suit. Benkiser, 459 F.3d at

587 (citing Hunt, 432 U.S. at 345). An organization is not required to have a formal membership

structure in order to assert standing on behalf of its constituents or supporters. See Hunt, 432 U.S.

at 345 (holding an organization that possessed the indicia of membership and was responsive to

those constituents could assert associational standing); see also Friends for the Earth, Inc. v.

Chevron Chem. Co., 129 F.3d 826, 829 (5th Cir. 1997) (finding nonprofit environmental

organization had associational standing even though it did not have formal membership

requirements). But in any event, Intervenors have sufficiently alleged that they do have members,

whom they consider to be Democratic voters and supporters. ECF No. 28 at ¶¶ 11-13; App. at 466,

594, 672.

       Courts have repeatedly held that political party committees like Intervenors have

associational standing on behalf of their voter members when they have challenged state laws that

make it more difficult for their members to engage in the political process. See, e.g., Crawford v.

Marion Cty Election Bd., 472 F.3d 949, 951 (7th Cir. 2007) (finding the “Democratic Party also

has standing to assert the rights of those of its members who will be prevented from voting by the

new [photo ID] law”); Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1254 (N.D. Fla.

2016) (holding Florida Democratic Party had standing on behalf of voters “who intend[ed] to



                                                 13
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 20 of 29




register as Democrats and who will be barred from voting” given state’s closure of voter

registration). 5 Indeed, in a voting case brought recently to address burdens imposed on voters by

Wisconsin state election laws in the context of the current public health crisis, a federal district

court found that both the DNC and the Democratic Party of Wisconsin had standing to sue on

behalf of their voter members who would face undue burdens on their right to vote in elections

held during the pandemic. Democratic Nat’l Comm. v. Bostelmann, No. 20-CV-249-WMC, 2020

WL 1320819, at *3 (W.D. Wis. Mar. 20, 2020). 6

       Here, Intervenors have standing to challenge Defendants’ unconstitutional conduct on

behalf of Democratic Texas voters (their members and constituents) who are not able to register

to vote when they update their addresses or renew their licenses with DPS using its online system,

including at least one of the individual Stringer II Plaintiffs, John Harms, who voted in the March

Democratic primary. ECF No. 74-1 35:5-11. Any of these voters could sue in their own right, and

Intervenors have standing to carry this lawsuit forward to protect their interests. Moreover,

Intervenors seek systemic changes to the online driver’s license system so that all eligible voters

among their membership who update their driver’s licenses online will have an opportunity to

simultaneously register to vote. Intervenors’ requested declaratory and injunctive relief does not

require individual voters to participate in this lawsuit. Benkiser, 459 F.3d at 588 (finding




5
 See also, e.g., Reagan, 329 F. Supp. 3d at 831; Ga. Republican Party v. Sec. & Exch. Comm’n,
888 F.3d 1198, 1203 (11th Cir. 2018); Sandusky Cty. Democratic Party v. Blackwell, 387 F.3d
565, 573-74 (6th Cir. 2004); Bay Cty. Democratic Party v. Land, 347 F. Supp. 2d 404, 422 (E.D.
Mich. 2004); Fla. Democratic Party v. Hood, 342 F. Supp. 2d 1073, 1079 (N.D. Fla. 2004); Scott,
215 F. Supp. 3dat 1254.
6
  This standing decision was not disturbed by either the Seventh Circuit or the Supreme Court,
both of which issued orders in subsequent emergency appellate proceedings. See Democratic Nat’l
Comm. v. Republican Nat’l Comm., No. 20-1538 (7th Cir. Apr. 3, 2020), Republican Nat’l Comm.
v. Democratic Nat’l Comm., 140 S.Ct. 1205 (2020).

                                                14
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 21 of 29




associational standing on behalf of TDP’s members, proven in part by the type of relief sought,

i.e. an injunction, which benefits the whole group).

               3.      Intervenors’ injuries are directly traceable to Defendants’ conduct.

        Intervenors easily demonstrate that their injuries are traceable to Defendants. Article III

 does not “require a showing of proximate cause or that ‘the defendant’s actions are the very last

 step in the chain of causation,’” Inclusive Cmtys. Project, Inc. v. Dep’t of Treasury, 946 F.3d 649,

 655 (5th Cir. 2019). It is satisfied where it is shown that the defendants’ conduct has a

 “determinative or coercive effect upon the action of someone else.” Id. Here, Defendants’

 continued violations have already caused the disenfranchisement of the original plaintiffs in this

 action and are all but certain to cause further disenfranchisement in upcoming elections if

 Defendants are not forced to comply with the law. The disenfranchisement of Intervenors’

 members and constituents, and the diversion of their resources to combat this disenfranchisement

 injures Intervenors as described above, see supra at 6-14, and satisfies Article III’s requirements.

               4.      Intervenors’ injuries can be redressed by a favorable decision.

        An injunction that requires Defendants to take affirmative steps to comply with the Equal

 Protection Clause would redress Intervenors’ injuries. “To satisfy redressability, a plaintiff must

 show that ‘it is likely, as opposed to merely speculative, that the injury will be redressed by a

 favorable decision,’” and “[t]he relief sought needn’t completely cure the injury . . . it’s enough

 if the desired relief would lessen.” Inclusive Cmtys. Project, 946 F.3d at 655 (citation omitted).

 This Court need not search far to determine that a favorable ruling would redress Intervenors’

 injuries, as the Court’s previous Final Order in this litigation would do precisely that. See Appx.

 285-291, Ex. D. Intervenors have satisfied the standard for redressability under Article III.




                                                 15
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 22 of 29




        B.      The doctrine of collateral estoppel precludes Defendants from relitigating the
                merits of this case.

        Defendants are precluded from relitigating the equal protection claim under the doctrine of

collateral estoppel, which promotes judicial economy by preventing “needless litigation.”

Parklane Hosiery Co., Inc., v. Shore, 439 U.S. 322, 326 (1979). It is ironic that Defendants

complain that Intervenors waste the Court’s time by arguing that the doctrine of collateral estoppel

applies, see ECF No. 73 at 10, when Defendants have dragged their feet since this litigation

commenced. Defendants are not entitled to a second bite at the apple to relitigate issues that have

already been thoroughly briefed and examined, and that were not disturbed on appeal. When

determining whether the doctrine of collateral estoppel applies, federal courts analyze whether “(1)

the issue under consideration is identical to that litigated in the prior action; (2) the issue was fully

and vigorously litigated in the prior action; (3) the issue was necessary to support the judgment in

the prior case; and (4) there is no special circumstance that would make it unfair to apply the

doctrine.” Winters v. Diamond Shamrock Chem. Co., 149 F.3d 387, 391 (5th Cir. 1998). This case

satisfies each factor.

        First, Intervenors’ Complaint sets forth the exact same equal protection claim that the

parties have already litigated. Compare ECF No. 28 (Intervenors’ Complaint), with Stringer I,

Appx. 293-311, Ex. E at ¶¶ 1, 20-21, 59. There can be no doubt that Intervenors satisfied the first

factor necessary to apply collateral estoppel.

        Second, the equal protection claim was fully and vigorously litigated in the previous action.

That Intervenors were not parties in Stringer I makes no difference because collateral estoppel

applies against Defendants, and Defendants were parties to the prior suit and had a full and fair

opportunity to defend their actions. Defendants argued then, as they do now, that “state law

prevent[ed] them from complying with federal law.” Stringer I, 320 F. Supp. 3d at 868. Defendants


                                                   16
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 23 of 29




never disputed the underlying facts; in fact, they conceded—as they still do—that eligible voters

were renewing their licenses and changing their addresses online and that these transactions did

not simultaneously accomplish voter registration. See id. at 878 (“This is a very possible thing to

do what you’re saying if it was legal, and it’s not legal . . . So I’m not contesting the logistics of it.

We can agree that it’s a possible thing to do.”); see also ECF No. 69-1 at 44-45, 53-54 (Secretary

of State Division Director, stating “what I said is I don’t think it’s going to require a change [to

the SOS electronic voter registration database]. . . . And [if a change is necessary,] the cost won’t

be very much, and it will only be a one-time cost, but I just don’t know if it’s even going to be

necessary”). The Court’s ultimate order in Stringer I turned squarely on whether Texas law

prevented Defendants from allowing simultaneous registration for online transactions with DPS,

and after extensive analysis, found that Texas must allow for simultaneous registration for online

transactions with DPS. Stringer I, 320 F. Supp. 3d at 900-901.

        Third, the issues underlying Intervenors’ equal protection claim were necessary to support

the Court’s initial judgment. See, e.g., Winters, 149 F.3d at 392 (finding this factor met when the

issue “was integrally related to—indeed, it constituted the crux of—the particular judgment”). The

issue underlying Intervenors’ equal protection claim is whether Texas must allow for simultaneous

voter registration when eligible voters complete renewal or change of address applications with

DPS online. See generally ECF No. 28. It is indisputable that the determination of the issue—that

is, whether Texas must allow for simultaneous online voter registration—was necessary and

essential to this Court’s resulting judgment. See Restatement (Second) of Judgments § 27, cmt. j

(1982) (instructing collateral estoppel should be applied when “the issue was actually recognized

by the parties as important and by the trier as necessary to the first judgment”).

        Finally, there are no other circumstances that would otherwise make it unfair to apply



                                                   17
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 24 of 29




collateral estoppel. In particular, collateral estoppel applies here despite the Fifth Circuit’s reversal

in Stringer I because that decision did not address the merits and thus does not control the

substance of the Court’s original judgment. See Langley v. Price, 926 F.3d 145, 167 (5th Cir. 2019)

(“When a judgment is partially reversed on appeal, ‘[t]here is no preclusion as to the matters

vacated or reversed.”).

        C.      Intervenors are entitled to summary judgment for the reasons detailed in
                Plaintiffs’ previous motion for summary judgment.

        Even if the Court declines to apply the doctrine of collateral estoppel, Intervenors are

nonetheless entitled to summary judgment for the reasons detailed in Plaintiffs’ Motion for

Summary Judgment in Stringer I. Intervenors expressly adopt Plaintiffs’ motion for summary

judgment and appendix in support from Stringer I, which are included in the Appendix to this

Motion. See Appx. 1-204, 313-344, Exs. A, F.

        As previously noted, Defendants had a full and fair opportunity to litigate on that record

and, perhaps even more importantly, have conceded that the facts have not changed “materially or

relevantly since” Stringer I, that Plaintiffs have accurately laid those facts out, and that Texas’s

“practices” and implementation of the law (as it views it) have not changed. Appx. at 688, 741,

742. Requiring the parties to go through the charade of putting together again what would

effectively be the exact same evidentiary record would only serve to waste everyone’s—including

the Court’s—time, entirely unnecessarily. Indeed, even Defendants appear to acknowledge as

much. See ECF No. 50 (defense counsel conceding it may be “appropriate to rely upon portions

of the factual record developed in Stringer I in the interests of judicial and party economy”).

        Intervenors’ equal protection claim is properly evaluated under the legal test derived from

Anderson, 460 U.S. 780, and Burdick, 504 U.S. 428. The Anderson-Burdick test requires courts to

weigh “the character and magnitude” of the alleged burden, against the “precise interests put


                                                   18
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 25 of 29




forward by the State.” Burdick, 504 U.S. at 434. This assessment must “tak[e] into consideration

the extent to which those interests make it necessary to burden the [P]laintiffs’ rights.” Id. at 428.

Any burden, however slight, “must be justified by relevant and legitimate state interests

sufficiently weighty to justify the limitation.” Stringer I, 320 F. Supp. 3d at 898.

       Defendants’ conduct fails the Anderson-Burdick test and violates equal protection. Id. at

899-901. Eligible voters are unduly burdened by Texas’s refusal to allow for simultaneous online

voter registration, and these burdens are not outweighed by any state interests. Id. The State’s

purported interest, described in Defendants’ Motion for Summary Judgment, id. at ECF No. 80,

and response to Plaintiffs’ Motion for Summary Judgment, id. at ECF No. 86, is that the Texas

Election Code requires a physical signature. Defendants concede that this remains their

justification for not complying with federal law. Appx. at 691 (Defendants argue that “[s]tate law

requires that a voter registration application be in writing and signed by the registrant.”).

       This justification is insufficient to justify the burdens on eligible voters for several reasons.

As this Court previously held, “neither federal nor state law limits the signature requirement to

physical hand written signatures on paper.” Stringer I, 320 F.Supp.3d at 899. Moreover, “DPS

already uses electronic records and previously imaged electronic signatures for every Texan that

uses the online system for driver’s license renewal or change of address,” and the Secretary of

State uses those electronic signatures, admitting “it never uses physical, manual, or wet ink

handwritten signatures on paper for voter registration purposes.” Id.; see also Appx. at 39, 42, 45-

46. Defendants’ use of previously imaged electronic signatures for DPS transactions and voter

registration purposes has not changed since Stringer I. See Appx. at 698 (defense counsel

explaining the signature captured during in-person transactions at DPS is “done on an electronic

pad, so an image of that handwritten signature is captured”). Therefore, it remains true that “neither



                                                  19
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 26 of 29




the law nor the facts support Defendants’ alleged justification for limiting simultaneous voter

applications to in-person and mail motor voter transactions and refusing simultaneous voter

applications for motor voters that renew or change their driver’s license online.” Stringer I, 320 F.

Supp. 3d at 900.

       The additional discovery taken in this case has made clear that Defendants can take the

remaining necessary steps to provide a fully simultaneous, non-duplicative voter registration

application to voters who update their driver’s license information online in a matter of weeks. See

Stringer II, SA-20-CV-46, ECF No. 69. And, the cost to Defendants to implement this system is

negligible or non-existent. ECF No. 69-1 at 44-45, 53-54 (Secretary of State Division Director,

stating “what I said is I don’t think it’s going to require a change [to the SOS electronic voter

registration database]. . . . And [if a change is necessary,] the cost won’t be very much, and it will

only be a one-time cost, but I just don’t know if it’s even going to be necessary”). This Court

should order Defendants to implement a fully compliant system permanently, so that all future

Texas motor voters are protected from the disenfranchisement that is presently resulting from

and—absent this Court’s intervention, will continued to result from—Defendants’ long-standing

violations.

                                      V.      CONCLUSION

       For the foregoing reasons, Intervenors respectfully ask the Court to grant their Motion for

Summary Judgment. A slight modification of the Court’s previous injunction would be sufficient

here. Plaintiffs have accordingly attached both a proposed final order, Appx. 780-87, Ex. O, as

well as a redline comparing their proposal to the Court’s previous order. Appx.771-78, Ex. N.




                                                 20
       Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 27 of 29




Dated: May 29, 2020.                 Respectfully submitted,

                                     /s/ Emily Brailey
                                     John Hardin
                                     TX State Bar No. 24012784
                                     PERKINS COIE LLP
                                     500 N. Akard St., Suite 3300
                                     Dallas, TX 75201
                                     Telephone: (214) 965-7743
                                     Facsimile: (214) 965-7793
                                     JohnHardin@perkinscoie.com

                                     Marc E. Elias*
                                     Aria Branch*
                                     John M. Geise*
                                     Emily Brailey*
                                     PERKINS COIE LLP
                                     700 Thirteenth St., N.W., Suite 600
                                     Washington, D.C. 20005-3960
                                     Telephone: (202) 654-6200
                                     Facsimile: (202) 654-9959
                                     melias@perkinscoie.com
                                     jgeise@perkinscoie.com
                                     ebrailey@perkinscoie.com

                                     Counsel for the Intervenors

                                     Chad W. Dunn
                                     TX State Bar No. 24036507
                                     Brazil & Dunn, LLP
                                     4407 Bee Caves Road, Suite 111
                                     Austin, Texas 78746
                                     Telephone: (512) 717-9822
                                     Facsimile: (512) 515-9355
                                     chad@brazilanddunn.com

                                     Robert Leslie Meyerhoff
                                     Texas Democratic Party
                                     314 E. Highland Mall Blvd. #508
                                     Austin, TX 78752
                                     Telephone: 512-478-9800
                                     rmeyerhoff@txdemocrats.org

                                     Counsel for Intervenor Texas Democratic Party


                                     21
Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 28 of 29




                              *Admitted Pro Hac Vice




                              22
        Case 5:20-cv-00046-OLG Document 77 Filed 05/29/20 Page 29 of 29




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2020, I filed a copy of the foregoing Texas Democratic

Party, DSCC, and DCCC’s Motion for Summary Judgment with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to all counsel of record.


                                                /s/ Emily Brailey




                                               23
